      Case
MIED (Rev.       2:12-cv-10948-AC-LJM
           5/05) Statement                                      ECF
                           of Disclosure of Corporate Affiliations        No. Interest
                                                                   and Financial 6 filed   03/13/12   PageID.231   Page 1 of 1

                                                     UNITED STATES DISTRICT COURT
                                                     EASTERN DISTRICT OF MICHIGAN

HEALTH ENHANCEMENT PRODUCTS, INC.,


                       Plaintiff(s),                                            Case No. 12-cv-10948

v.                                                                              Judge Avern Cohn
                                                                                Judge

CEPTAZYME, LLC, and ZUS HEALTH, LLC,                                            Magistrate Judge Laurie J. Michelson


                       Defendant(s).
                                                                        /

                                         STATEMENT OF DISCLOSURE
                               OF CORPORATE AFFILIATIONS AND FINANCIAL INTEREST

           Pursuant to E. D. Mich. LR 83.4, ZUS HEALTH, LLC

makes the following disclosure: (NOTE: A negative report, if appropriate, is required.)

1.         Is said corporate party a subsidiary or affiliate of a publicly owned corporation?
           Yes                    No      ✔
           If the answer is yes, list below the identity of the parent corporation or affiliate and the relationship
           between it and the named party.

           Parent Corporation/Affiliate Name:
           Relationship with Named Party:

2.         Is there a publicly owned corporation or its affiliate, not a party to the case, that has a substantial financial
           interest in the outcome of the litigation?

           Yes                    No      ✔

           If the answer is yes, list the identity of such corporation or affiliate and the nature of the financial interest.

           Parent Corporation/Affiliate Name:
           Nature of Financial Interest:


Date: March 13, 2012                                                             /s/ Brian A. Nettleingham

                                                                                 P58966
                                                                                 Maddin Hauser Wartell Roth & Heller, PC
                                                                                 28400 Northwestern Hwy.
                                                                                 Third Floor
                                                                                 Southfield, MI 48034
                                                                                 (248) 359-7503
                                                                                 bnettleingham@maddinhasuer.com
